             Case 1:18-cv-01773 Document 2 Filed 07/30/18 Page 1 of 2



UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA



HPK MANAGEMENT D.O.O. and HPK
ENGINEERING B.V.,

                          Petitioners,
                                                     Civ. No. 1:18-cv-1773
               v.

REPUBLIC OF SERBIA and ŽELEZARA                      RULE 7.1 STATEMENT
SMEDEREVO D.O.O.,

                          Respondents.


       As counsel of record for Petitioners HPK Management D.O.O. (“HPK Management”)

and HPK Engineering B.V. (“HPK Engineering”), I hereby certify to the best of my knowledge

and belief that the following are parent companies, subsidiaries or affiliates of HPK Management

and/or HPK Engineering that have any outstanding securities in the hands of the public: HPK

Management is wholly owned by HPK Engineering. No publicly-owned company holds any

stake in HPK Engineering.

       These representations are made in accordance with Local Civil Rule 7.1 of the Local

Rules of the United States District Court for the District of Columbia in order that judges of this

Court may determine the need for recusal.
           Case 1:18-cv-01773 Document 2 Filed 07/30/18 Page 2 of 2




Dated: New York, New York             CHAFFETZ LINDSEY LLP
       July 30, 2018

                                      By: /s/ Andreas A. Frischknecht
                                          Andreas A. Frischknecht
                                          DC Bar No. NY0213


                                      James M. Hosking
                                      (pending pro hac admission)
                                      Gretta L. Walters
                                      (pending pro hac admission)
                                      1700 Broadway, 33rd Floor
                                      New York, NY 10019
                                      Tel. (212) 257-6960
                                      Fax. (212) 257-6950
                                      a.frischknecht@chaffetzlindsey.com
                                      g.walters@chaffetzlindsey.com

                                      Attorneys for HPK Management D.O.O.
                                      and HPK Engineering B.V.




                                      2
